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                                               Reset Form



                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


        Fourth Circuit No. 07-4115                District Court No. RWT-04-235

        Style of Case: US v LaVon Dobie, et al

                     REQUEST FOR EXTENSION OF TIME AND WAIVER OF
                         APPLICABLE FEE REDUCTION SANCTION

              I request an extension of time and waiver of applicable fee reduction
              sanctions until 12/15/08 for the filing of the transcript which is
              due on 12/4/08 . As of this date, approximately 1,000 pages have
              been completed and 400 pages are yet to be transcribed.

                                  JUSTIFICATION IS AS FOLLOWS:

        A.    Outstanding District Court transcripts ordered within 90 days of this
              request. Any pending appellate transcripts will be taken into
              consideration in deciding this request.




        B.    In-Court Time: (give total days/hours by month)

        C.    Travel: (give hours spent traveling to and from Court by month)

        D.     Other: (please provide any other information you would like the Court to consider
        when reviewing your request. Please be aware that this information will be posted on the
        public docket.)
              I was admitted into the emergency room on Dec 2 and diagnosed with a UTI/kidney infection.
              I am taking medications and have just returned to the office on Dec 5. Please grant me until
              Dec 15, 2008 for completion of transcripts in this matter. Thank you.




                   Date: Dec 5, 2008
                         _____________                         /s/ Tracy Rae Dunlap, RPR, CRR
                                                         Name: ___________________________
